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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE
                             CRIMINAL ACTION NO. 3:23-CR-091


UNITED STATES OF AMERICA                                                        PLAINTIFF

v.

JAMES NOTT                                                                    DEFENDANT


                        MEMORANDUM AND ORDER FOLLOWING
                          TELEPHONIC STATUS CONFERENCE

         A telephonic status conference was held in this matter on November 1, 2023 before the

Honorable Charles R. Simpson, III, United States Senior District Judge.

         The following counsel participated in the conference:

         For the United States

         Christopher C. Tieke, Assistant United States Attorney;

         For the Defendant

         Donald J. Meier, Assistant Federal Defender.

         The Court and counsel discussed the procedural posture of the case. Based on the

discussion during the conference, by agreement of the parties, and the Court being otherwise

sufficiently advised,

         IT IS HEREBY ORDERED as follows:

         1. A change of plea hearing is set for November 27, 2023 at 2:00 p.m. before the

Honorable Charles R. Simpson, III, United States District Senior Judge, at the Gene Snyder

Federal Court House in Louisville, Kentucky.




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         2. Speedy Trial Act. In light of the defendant’s change of plea and upon the Court’s own

motion, the time between November 1, 2023, and November 27, 2023 is DECLARED excludable

in computing the time within which the trial must commence under the Speedy Trial Act pursuant

to 18 U.S.C. § 3161(h)(1)(D) because the delay results from a change of plea request concerning

the defendant.

Dated:      November 3, 2023




cc:      Counsel of Record
         United States Probation

Court Reporter: ECRO (Daniel Tierney)

Time: 00:05




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